
209 N.W.2d 144 (1973)
190 Neb. 481
Appeal of Gerald Eugene Rien et al.
Gerald Eugene RIEN et al., Appellants,
v.
BOARD OF EQUALIZATION OF SCOTTS BLUFF COUNTY, Nebraska, Appellee.
Appeal of Gerald A. Morris et al.
Gerald A. MORRIS et al., Appellants,
v.
BOARD OF EQUALIZATION OF SCOTTS BLUFF COUNTY, Nebraska, Appellee.
Nos. 38892, 38893.
Supreme Court of Nebraska.
July 6, 1973.
*145 Wright &amp; Simmons, John F. Wright, John F. Simmons, Scottsbluff, for appellants.
Marvin L. Holscher, County Atty., W. H. Kirwin, Deputy County Atty., Gering, for appellee.
Heard before WHITE, C. J., and SPENCER, BOSLAUGH, SMITH, McCOWN, NEWTON and CLINTON, JJ.
NEWTON, Justice.
These are appeals from the Board of Equalization of Scotts Bluff County, Nebraska. Involved is the south half of Lot 3, and Lots 4 and 5, Block 13, Original Town. At the time of assessment in January 1971, there were two 4-unit apartment buildings on Lot 5 which had been completed in September and November 1970. Lot 5 was assessed at $75,000 and the south half of Lot 3 and Lot 4 at $8,000. Also involved are 6 and 12-unit apartment buildings located on part of Lots 1 and 2, of 5th and 27th subdivision. These properties were assessed at $60,000 and $125,000 respectively. The trial court sustained the actions of the Board of Equalization and we affirm those judgments.
No question regarding equalization of assessments is presented and the only issue is whether or not the assessed values exceed actual values. One of the owner-plaintiffs testified that construction of the apartment buildings was accomplished primarily with the labor of plaintiffs. They did painting, cement and carpenter work laid brick and concrete blocks, etc. In figuring costs of construction, the sum of $3 per hour was allowed for such services. He fixed cost of construction of the two 4-unit apartments at $61,083.07 but had no similar figures on the other buildings. It appears he had paid $6,000 for the site of the 4-unit apartments and had demolished an old house on the property. The site of the two larger apartments had been purchased for $12,500.
This witness valued the 4-unit apartment buildings at his alleged cost of construction of $61,083.07. This does not take into account the value of the lots and he offered no competent statement in this respect.
*146 He placed a value of $40,000 and $80,000 on the 6 and 12-unit apartment properties and stated gross income from them was $26,080.19 with a net income of $9,126.72. He displayed little, if any, knowledge of current cash market values of such properties.
A local real estate broker was called by plaintiffs. He valued the 4-unit apartments at $60,000 and the 6 and 12-unit properties at $40,000 and $80,000 respectively. His estimates were based on the cost and income factors. He was unfamiliar with recent apartment house sales in Scottsbluff.
All properties in Scotts Bluff County had been appraised for taxation purposes by Justin H. Haynes &amp; Co. Representatives of this firm had made studies of construction costs and rental values in Scottsbluff and also of recent sales of various types of properties. Much of the evidence offered was refused or discounted on the ground that it was based on hearsay or was directed to the ultimate question to be determined, namely, values. Experts on real estate values are invariably dependent upon information received from others in determining construction costs, rental income and expense, and values for which comparative properties have been sold. In fixing a market value on real property which is the subject of assessment for tax purposes, they necessarily testify as to the ultimate issue. The properties were assessed in accordance with appraisals for tax purposes made by the Justin H. Haynes &amp; Co. firm professional appraisers. The evidence of the representatives of this firm tended to support the assessments made.
The burden of proof is upon a taxpayer to establish that the value of his property has been arbitrarily or unlawfully fixed in an amount greater than its actual value. See Lexington Building Co., Inc. v. Board of Equalization, 186 Neb. 821, 187 N.W.2d 94. The court must affirm the action taken by the board of equalization unless it is established that its action was arbitrary or unreasonable. See § 77-1511, R.R.S.1943.
The trial court found that plaintiffs had failed to sustain this burden of proof, a finding with which we are inclined to agree. Plaintiffs' evidence as to construction costs failed to take into account the high cost of skilled labor and their estimate of value based on cost failed to include the value of the land. Their estimate of expenses of operation was conclusionary in nature without verification by the production of books or bank accounts. Their expert witness was rather thoroughly impeached when he admitted ignorance of comparative sales in the city and relied largely on figures as to net income and construction costs supplied by plaintiffs.
The plaintiffs have failed to sustain their burden of proof and the evidence will not sustain a finding of arbitrary or unreasonable assessments. The judgments of the District Court are affirmed.
Affirmed.
